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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA

 Banafsheh Zand,

                                 Plaintiffs,

                       vs.                           Case Number: 1:19-cv-02602-JDB

 The Islamic Republic of Iran et al.;

                                Defendants.



                                   PLAINTIFFS RESPONSE

       In answer to this Court’s order dated September 2, 2022, Plaintiff provides the following

answers:

1. Plaintiff is not seeking any relief against other Defendants except the Defendant Islamic

   Republic of Iran. Plaintiffs file Notice of Voluntary Dismissal of Defendants ALI HUSSEINI

   KHAMENEI, MOHAMMD JAVAD ZARIF, and THE ISLAMIC REVOLUTIONARY

   GUARD CORPS from this action. (See Docket #18)

2. Under 28 USC 1605A (e)(1) this court may appoint a special master to hear damage claims

   brought under this action. Even though Plaintiff raised no objection to have a special master

   for calculation of damages, Plaintiff is now asking this honorable court to rule on damages

   based on Plaintiffs’ prior submissions. This case is filed in August 12 of 2019, and Plaintiffs

   Motion for Default Judgment was filed on August 9, 2021. We believe the appointment of

   master at this stage is only going to delay the final conclusion of this case.




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3. Pursuant to this court’s order, Plaintiffs recommend any of the following two individuals to

    serve as special master should the Court choose to invoke 28 U.S.C. § 1605A(e)(1) for

    assistance in the calculation of economic damages.

    I.       Stephen Saltzburg, Esq.

Stephen Saltzburg is the Wallace and Beverley Woodbury University Professor of Law at the

George Washington University Law School. He has been appointed as special master pursuant to

28 U.S.C. § 1605A(e)(1) in several cases in this District, including by this Court in Wamai v.

Republic of Sudan, No. 08-1349, and Owens v. Republic of Sudan, No. 01-2244. His CV is

attached as Exhibit A.

    II.      Alan Balaran, Esq.1

Alan Balaran has extensive experience acting as a special master pursuant to 28 U.S.C.

§1605A(e)(1). He has been appointed to that role in more than a dozen cases in this District,

including most recently by Judge Lamberth in Bova v. Islamic Republic of Iran, No. 15-1074, and

Allan v. Islamic Republic of Iran, No. 17-338. His CV is attached as Exhibit B.



Respectfully submitted.

September 16, 2022

                                                               _/s/_____________________
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 As of the date of this submission, we haven’t received Mr. Balaran’s confirmation of his willingness to participate
as the special master for this case.


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